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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                             )
                                                     )
                 v.                                  )      Criminal No. 21-CR-10350-LTS
                                                     )
(1) Harry TAM, a/k/a “Legendary H,” a/k/a/           )
“HK”; a/k/a Harry Kiahi TAM                          )
(2) Tony NGUYEN;                                     )
(3) Marcus LEYDEN a/k/a “Pyrex”                      )
(4) Henry VUONG;                                     )
(5) Robert OSTRANDER;                                )
(6) James COLAMARIA                                  )
(7) Vincent DUONG,                                   )
(8) Colin HEA                                        )
(9) Eli SANDERS; and                                 )
(10) Jacob PARLIN, a/k/a Jake”,                      )
                    Defendants.                      )

    UNITED STATES= BILL OF PARTICULARS FOR FORFEITURE OF ASSETS

       The United States of America, by and through its attorney, Rachael S. Rollins, United

States Attorney for the District of Massachusetts, hereby files the following Bill of Particulars

for Forfeiture of Assets.

               On December 23, 2021, a a federal grand jury sitting in the District of

Massachusetts returned a eleven-count Indictment charging defendant Harry Tam (the

“Defendant”), amongst others, with Conspiracy to Distribute and to Possess with Intent to

Distribute 50 Grams or More Of Methamphetamine, in violation of 21 U.S.C. § 846 (Count

One); Distribution of and Possession with Intent to Distribute 50 Grams or More of

Methamphetamine; Aiding and Abetting, in violation of 21 US.C. §§ 841(a)(1) and

(b)(1)(A)(viii) and 18 U.S.C. § 2 (Counts Two through Six); Possession of a Firearm in

Furtherance of a Drug Trafficking Offense, in violation of 18 U.S.C. § 924(c) (Counts Seven

through Nine); and Felon in Possession of a Firearm and Ammunition, in violation of 18 U.S.C.
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§ 922(g)(1) (Count Ten); and Possession of a Firearm with an Obliterated Serial Number, in

violation of 18 U.S.C. § 922(k) (Count Eleven);

       The Indictment included a Drug Forfeiture Allegation which gave the Defendant notice

that the United States intended to seek forfeiture, pursuant to 21 U.S.C. § 853, upon conviction of

one or more of the offenses alleged in Counts One through Six of the Indictment, of any property

constituting, or derived from, any proceeds obtained, directly or indirectly, as a result of such

offense; and any property used or intended to be used, in any manner or part, or to facilitate the

commission of, such offenses. 1

       Pursuant to, and without limiting in any manner the Drug Forfeiture Allegation of the

Indictment, the United States hereby gives notice that it is seeking forfeiture, without limitation,

of the following specific property:

                (a)     One white 2020 Lexus RX450H, bearing VIN number
                        JTJHGKFA5L2011348, seized on or about March 23, 2022; and

                (b)     $9,550 in United States currency, seized from Harry Tam on or about
                        December 2, 2021.


                                                      Respectfully submitted,

                                                      RACHAEL S. ROLLINS
                                                      United States Attorney

                                              By:     /s/ Carol E. Head
                                                      NADINE PELLEGRINI
                                                      CAROL E. HEAD
                                                      Assistant United States Attorneys
                                                      U.S. Attorney=s Office
                                                      1 Courthouse Way, Suite 9200
                                                      Boston, MA 02210
                                                      (617) 748-3100
Dated: August 26, 2022                                carol.head@usdoj.gov


       1
           The Indictment also contained a Firearm Forfeiture Allegation.

                                                  2
